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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

VS.                           NO. 4:13CR00219-04-SWW

DWAYNE GIBBS                                                                 DEFENDANT


                                          ORDER

       At a hearing on September 24, 2013, Mr. Gibbs was placed on bond, with

conditions, including drug testing and treatment if required by the pretrial services office.

This condition of release was inadvertently omitted from the written Order Setting

Conditions of Release (Docket entry #43). The Order is hereby modified to include drug

testing and treatment if deemed appropriate by the pretrial services office. All other

imposed conditions of release remain in force.

       IT IS SO ORDERED this 26th day of September, 2013.



                                           ___________________________________
                                           UNITED STATES MAGISTRATE JUDGE
